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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:07-CR-237
                                                 §
 ROY ELBERT CARLTON                              §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On March 6, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Roy Elbert Carlton, on Count III of the

 charging Indictment filed in this cause. Count III of the Indictment charges that on or about the

 5TH day of August, 2007, in the Eastern District of Texas, Roy Elbert Carlton, Defendant herein,

 being an inmate of the Federal Correctional Complex, Beaumont, Texas, did knowingly attempt

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 to obtain a prohibited object, namely marijuana, in violation of Title 18, United States Code,

 Section 1791(a)(2).

        Defendant, Roy Elbert Carlton, entered a plea of guilty to Count III of the Indictment into

 the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crime charged under 18

 U.S.C. § 1791(a)(2).


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                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Basis and

 Stipulation. If the case proceeded to trial, the Government and Defendant agreed and stipulated

 to the information set forth in the factual basis which would be used by the Government in

 support of the Defendant’s plea of guilty. The Government and Defendant agreed that the

 Government would have proven that Defendant is one and the same with the person charged in

 the Indictment and that the events described in the Indictment occurred on the dates and in the

 places alleged in the Eastern District of Teas. The Government and Defendant agreed that the

 Government would have proven, through the testimony of witnesses and through admissible

 exhibits, beyond a reasonable doubt, each and every essential element of the offense alleged;

 specifically, the Government would have proven certain stipulated facts set forth in the Factual

 Basis, on file in the record of this cause. The Factual Basis and Stipulation states those facts as

 follows:

        The Government would prove that on or about August 5, 2007, the defendant, Roy Elbert

 Carlton, was an inmate of the Federal Correctional Complex, in the Eastern District of Texas.

 On that date, he was being visited by Whitney Anderson. Officers observed suspicious behavior

 on the part of Carlton and Anderson. They discovered that Carlton was in possession of a paper

 bag containing 14 packets of marijuana. Carlton later expelled 24 packs of marijuana while on

 dry cell status. The marijuana recovered from Carlton was tested by the Jefferson County Crime

 Laboratory and was determined to be 16.37 grams of marijuana. The Government would finally


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 establish that inmates are prohibited from possessing marijuana.

          Defendant, Roy Elbert Carlton, agreed with the facts set forth by the Government and

 signed the Factual Basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty

 plea knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count III of the charging Indictment on file in this criminal

 proceeding. The Court also recommends that the District Court conditionally accept the plea

 agreement.1 Accordingly, it is further recommended that, Defendant, Roy Elbert Carlton, be

 finally adjudged as guilty of the charged offense under Title 18, United States Code, Section



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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 1791(a)(2).

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal


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 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

 Serv.. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).           The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                        SIGNED this the 6th day of March, 2008.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                          UNITED STATES MAGISTRATE JUDGE




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